UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


CANDICE MCCRARY,
                                                 Case No. 24-cv-8054
                       Plaintiff,

     -against-

SEAN COMBS, DADDY’S HOUSE
RECORDINGS, INC., CE OPCO, LLC d/b/a
COMBS GLOBAL f/k/a COMBS
ENTERPRISES LLC, BAD BOY
ENTERTAINMENT HOLDINGS, INC., BAD
BOY PRODUCTIONS HOLDINGS, INC., BAD
BOY BOOKS HOLDINGS, INC., BAD BOY
RECORDS LLC, BAD BOY
ENTERTAINMENT LLC, BAD BOY
PRODUCTIONS LLC, MARRIOTT
INTERNATIONAL, INC.,
AND ORGANIZATIONAL DOES 1-10,

                       Defendants.



 MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFF’S AMENDED MOTION
        FOR ADMISSION PRO HAC VICE FOR ANTHONY BUZBEE



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                 House Recordings Inc., CE OpCo, LLC (t/a Combs
                 Global) f/k/a Combs Enterprises, LLC, Bad Boy
                 Entertainment Holdings, Inc., Bad Boy Productions
                 Holdings, Inc., Bad Boy Books Holdings, Inc., Bad
                 Boy Entertainment LLC, and Bad Boy Productions,
                 LLC
                                                   TABLE OF CONTENTS

                                                                                                                                     Page

TABLE OF AUTHORITIES.......................................................................................................... iii

PRELIMINARY STATEMENT...................................................................................................... 1

FACTUAL BACKGROUND ......................................................................................................... 1

          A.         Buzbee Brings Over Twenty Cases in This District While Not Admitted to
                     Practice Before this Court. ...................................................................................... 1

          B.         Opposing Counsel Brings to Light Buzbee’s Lack of Admission. ......................... 3

          C.         Buzbee is Denied Admission to the Southern District of New York. ..................... 4

          D.         Buzbee Files the Instant Motion in Response to a Court Order. ............................. 5

LEGAL STANDARD ..................................................................................................................... 7

ARGUMENT .................................................................................................................................. 8

CONCLUSION ............................................................................................................................. 17




                                                                     ii
                                                 TABLE OF AUTHORITIES

                                                                                                                                    Page(s)
Cases

United States v. Int'l Bhd. of Teamsters, Chauffeurs, Warehousemen & Helpers of Am.,
       AFL-CIO,
       911 F. Supp. 743 (S.D.N.Y.) ......................................................................................... 9, 10

Ascento Cap., LLC v. Filipiak,
       No. 24-cv-6392, 2024 WL 4536667 (S.D.N.Y. Sept. 30, 2024) ............................. 8, 15, 16

Erbacci, Cerone, & Moriarty, Ltd. v. United States,
      923 F. Supp. 482 (S.D.N.Y. 1996) ................................................................................ 8, 10

Harty v. Spring Valley Marketplace LLC,
       No. 15-cv-08190, 2016 WL 8710480 (S.D.N.Y. Jan. 22, 2016) ......................................... 7

Rules

Local Civ. R. 1.3(j) ......................................................................................................................... 7

Local Civ. R. 1.3(k)........................................................................................................................11

Local Civ. R. 1.5(b)................................................................................................................... 9, 12

Local Rule 1.3(c) ............................................................................................................................ 7

New York Rule of Professional Responsibility 3.6(a) ...................................................... 12, 14, 15

New York Rule of Professional Responsibility 3.6(b). ................................................................. 13

New York Rule of Professional Responsibility 3.6(c) .................................................................. 13

Rule 6.14 of the S.D.N.Y. Electronic Case Filing Rules & Instructions .......................................11

Rule 10(a) of the Federal Rules of Civil Procedure .......................................................................11




                                                                      iii
       Defendants Sean Combs, Daddy’s House Recordings, Inc., CE OpCO, LLC d/b/a Combs

Global f/k/a Combs Enterprises LLC, Bad Boy Entertainment Holdings, Inc., Bad Boy

Productions Holdings, Inc., Bad Boy Books Holdings, Inc., Bad Boy Entertainment LLC, and

Bad Boy Productions LLC (“Defendants”) submit this memorandum of law in opposition to

Plaintiff’s Amended Motion for Admission Pro Hac Vice for Anthony Buzbee (ECF No. 51).

                                 PRELIMINARY STATEMENT

       In our collective decades of practice, undersigned counsel have never opposed a pro hac

vice application, and we do not do so lightly here. But Buzbee’s egregious misconduct warrants

denial of the privilege of appearing in this District. He has signed multiple filings across twenty-

two cases without permission to practice in this Court; he failed in each instance to disclose that

he had filed without being admitted; and he violated New York’s Rules of Professional Conduct

by, among other things, repeatedly insisting that Mr. Combs is guilty of the criminal charges

pending against him in this District, even though Buzbee has no good faith basis to believe the

Government will call any of his clients as a witness in that case. For these reasons, discussed in

detail below, this Court should deny Buzbee’s pro hac vice application.

                                   FACTUAL BACKGROUND

   A. Buzbee Brings Over Twenty Cases in This District While Not Admitted to Practice
      Before this Court.

       As Plaintiff’s lead counsel in this case, Buzbee has for months been signing and, upon

information and belief, drafting, directing, and advising on pleadings and other filings in this action

(and others) without obtaining permission to practice in the Southern District of New York and

without disclosing that he lacks such permission.         See, e.g., Motion for Leave to Proceed

Pseudonymously, ECF No. 15 at 2 (stating at the outset Plaintiff “by and through her undersigned

counsel The Buzbee Law Firm hereby files this Memorandum . . .”); Complaint, ECF No. 1 (signed


                                                  1
by Buzbee); Buzbee Declaration in Support of Motion for Leave to Proceed Anonymously, ECF

No. 14 (signed by Buzbee); Motion for Reconsideration, ECF No. 20 (signed by Buzbee). Buzbee

has done the same thing in twenty-one other cases filed in this District, all brought on behalf of

plaintiffs proceeding anonymously. While filing lawsuit after lawsuit without authorization, he

has repeatedly promoted his cases with statements that violate the New York Rules of Professional

Conduct. In countless social media posts, media appearances, and a press conference, Buzbee has

inappropriately commented on pending litigation in a manner that violates his professional and

ethical obligations by, among other things, opining on Mr. Combs’ guilt on criminal charges that

are scheduled to be tried in this District beginning on May 5, 2025. Worse, he has falsely accused

Mr. Combs of sexually abusing dozens of children when Mr. Combs has never been charged with

such crimes.

         Since October 14, 2024, Buzbee has directed the filing of at least twenty-two actions in the

Southern District of New York against Defendant Sean Combs and a slate of entities associated

with him.1 From October 14, 2024 to January 29, 2025, Buzbee directed the filing of and litigated

cases in this District without having applied for regular or pro hac vice admission. From October




1
          In addition to the instant case, Mr. Buzbee has directed the filing of the following actions: Doe v. Combs et
al., 24-cv-07769 (S.D.N.Y. Oct. 14, 2024); Doe v. Combs et al., 24-cv-07771 (S.D.N.Y. Oct. 14, 2024); Doe v.
Combs et al., 24-cv-07772 (S.D.N.Y. Oct. 14, 2024); Doe v. Combs et al., 24-cv-07774 (S.D.N.Y. Oct. 14,
2024); Doe v. Combs et al., 24-cv-07776 (S.D.N.Y. Oct. 14, 2024); Doe v. Combs et al., 24-cv-07777 (S.D.N.Y. Oct.
14, 2024); Doe v. Combs et al., 24-cv-07778 (S.D.N.Y. Oct. 14, 2024); Doe v. Combs et al., 24-mc-00478 (S.D.N.Y.
Oct. 16, 2024); Doe v. Combs et al., 24-cv-07973 (S.D.N.Y. Oct. 20, 2024); Doe v. Combs et al., 24-cv-07974
(S.D.N.Y. Oct. 20, 2024); Doe v. Combs et al., 24-cv-07975 (S.D.N.Y. Oct. 20, 2024); Doe v. Combs et al., 24-cv-
07976 (S.D.N.Y. Oct. 20, 2024); Doe v. Combs et al., 24-cv-07977 (S.D.N.Y. Oct. 20, 2024); Doe v. Combs et al.,
24-cv-08024 (S.D.N.Y. Oct. 22, 2024); Doe v. Combs et al., 24-cv-08808 (S.D.N.Y. Nov. 19, 2024); Doe v. Combs et
al., 24-cv-08810 (S.D.N.Y. Nov. 19, 2024); Doe v. Combs et al., 24-cv-08811 (S.D.N.Y. Nov. 19, 2024); Doe v.
Combs et al., 24-cv-08812 (S.D.N.Y. Nov. 19, 2024); Doe v. Combs et al., 24-cv-08813 (S.D.N.Y. Nov. 19,
2024); Doe v. Combs et al., 24-cv-08852 (S.D.N.Y. Nov. 20, 2024); Doe v. Combs et al., 24-cv-09852 (S.D.N.Y.
Dec. 20, 2024).



                                                          2
to January, Buzbee never indicated in a single action in this District that he was not admitted here,

that he had no application pending here, and that he had not sought admission pro hac vice.

    B. Opposing Counsel Brings to Light Buzbee’s Lack of Admission.

        On December 13, 2024, counsel for Shawn Carter (also known as “Jay-Z”), another

celebrity Buzbee sued without a good faith basis, filed a letter in a related action before the Hon.

Analisa Torres, which disclosed that Buzbee had not been admitted to practice in the Southern

District of New York despite having signed numerous pleadings and other filings in this

District. See Doe v. Combs et al., 24-cv-07975 (Dec. 13, 2024 S.D.N.Y.), ECF No. 46. In the

subsequent motion for sanctions filed on January 8, 2025, Mr. Carter’s counsel noted that Buzbee

had still “not obtained admission pro hac vice” and further observed: “Indeed, although Buzbee

advised the Court on December 20 that he was admitted to practice in the Eastern District of New

York and ‘intend[ed] to apply for reciprocal admission’ to the Southern District (Dkt. No. 50 at 3),

he has not even sought interim admission pro hac vice.” Doe v. Combs et al., (Jan. 8, 2025

S.D.N.Y.), ECF No. 61 at 12.

        In response, Buzbee attested on January 22, 2025, that his “application for reciprocal

admission in the Southern District of New York [was] forthcoming.” Doe v. Combs et al., 24-cv-

07975 (Jan. 22, 2025 S.D.N.Y.), ECF No. 76 at 1. This representation was false. Even so, Buzbee

took no action until, on January 28, 2025, after the Hon. Analisa Torres directed Buzbee to file

proof of admission on the docket by February 14, Buzbee finally applied on the following day for

admission.2 See Order, Doe v. Combs et al., 24-cv-07975 (Jan. 28, 2025 S.D.N.Y.), ECF No. 80

at 1. Even though, at that time, Buzbee had filed multiple actions in this District, he did not notify



2
         Prior to the February 14, 2025 deadline set by the Court for Mr. Buzbee to file proof of admission, the
Defendant’s Motion for Sanctions against Mr. Buzbee was withdrawn and Mr. Buzbee filed notices of voluntary
dismissal against the Defendants.

                                                         3
any of those courts that he had not yet been admitted to practice here. Nor did he seek admission

pro hac vice.

   C. Buzbee is Denied Admission to the Southern District of New York.

       On February 13, 2025, the Hon. Katherine Polk Failla, Chair of the Committee on

Grievances for the Southern District of New York, issued an order denying Buzbee’s request for

admission. Buzbee was denied admission because “[p]er the Committee’s review of the dockets,

Buzbee has appeared in cases in this Court without seeking admission.” See ECF No. 49-6 (the

“Order Denying Admission”). The final sentence of the Order Denying Admission states: In the

event Buzbee moves for pro hac vice or regular admission in this Court in the future, he must

attach a copy of this Order [Denying Admission] to his motion or petition.” Id.

       Buzbee took no steps to notify this Court, or any other court in this District where his

actions were pending, that he had been denied admission to practice here. Instead, in this action

and others, Buzbee continued to appear on court filings without disclosing the adverse action the

District’s Grievance Committee had taken against him and without seeking admission pro hac

vice. See Notice of Voluntary Dismissal as to Defendant Bad Boy Records, LLC (Feb. 14, 2025),

ECF No. 44; Notice of Voluntary Dismissal, Doe v. Combs et al., 24-cv-08812 (S.D.N.Y. Feb. 18,

2025), ECF No. 31; Notice of Voluntary Dismissal, Doe v. Combs et al., 24-cv-07975 (S.D.N.Y.

Feb. 14, 2025), ECF No. 91; Corrected Notice of Voluntary Dismissal, Doe v. Combs et al., 24-

cv-07975 (S.D.N.Y. Feb. 18, 2025), ECF No. 92; Notice of Voluntary Dismissal, Doe v. Combs

et al., 24-cv-07776, (S.D.N.Y. Feb. 14, 2025), ECF No. 4.




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   D. Buzbee Files the Instant Motion in Response to a Court Order.

       Plaintiff filed the instant application for pro hac vice admission only after the Court

required it. Following receipt of a pre-motion letter response on “The Buzbee Law Firm”

letterhead signed only by Buzbee (ECF 39), this Court issued the following order.

       The Court notes that Plaintiff’s letter in opposition to the pre-motion letter filed by
       Marriott International, Inc. [ECF No. 39] is signed by Anthony Buzbee. The Court
       has been informed that Buzbee is not admitted to practice in the Southern District
       of New York. He has not filed a motion to appear pro hac vice in this case. As
       such, Buzbee is in violation of Local Civil Rule 1.3. Accordingly, IT IS HEREBY
       ORDERED that Buzbee must file a motion to appear pro hac vice no later than
       February 21, 2025.

See Order (Feb. 18, 2025), ECF No. 47. The Court further warned that “failure to comply with

the Court's orders, the Federal Rules of Civil Procedure, the Local Rules, or this Court's Individual

Rules of Practice may result in sanctions.” Id.

       On the eve of the Court’s deadline, Buzbee filed his first motion to appear pro hac vice in

this case (ECF No. 49 “First PHV Motion”), which was also his first motion to appear pro hac

vice in any case in this District since he began filing cases against the Defendants in October

2024. Buzbee submitted an affidavit in support of his First PHV Motion in which he admitted, as

required by the Local Rules of the United States District Courts for the Southern and Eastern

Districts of New York (“Local Rules”), that he was recently denied admission to the Southern

District of New York. See ECF No. 49-2 (the “Affidavit”). In the Affidavit he stated that he had

been denied admission “following the filing of a grievance against me by counsel for one of the

defendants in an action in which I was counsel.” Id. ¶ 5. Buzbee declared that he was unaware

that a grievance had been filed against him at the time he applied for admission to the Southern

District of New York and understands that the filing of a grievance is a “‘disciplinary action’ under

the rules of the Southern District of New York.” Id. ¶¶ 5-6. Buzbee implied that he was denied

admission to the Southern District of New York for the same reason a grievance was filed against
                                                  5
him – “primar[il]y” because he “electronically signed numerous pleadings alongside [his] firm’s

local counsel” without being admitted here. Id. ¶ 7. Buzbee averred “[t]o the extent I violated the

Southern District’s rules . . . those violations were inadvertent . . . and [I] will make certain such

never occurs again.” Id. Buzbee also submitted a copy of the Order Denying Admission issued

by the Committee on Grievances, as required in the text of that Order. See ECF No. 49-6. He did

not submit a copy of the aforementioned grievance.

        The First PHV Motion was also supported by a declaration from Ms. Curis, Buzbee’s local

counsel. See ECF No. 49-1 (the “Curis Declaration”).3 The Curis Declaration, which is undated,

states that Ms. Curis was advised by Buzbee that he had never been “censured, suspended,

disbarred or denied admission or readmission by any court.” Id. ¶ 5.

        The Court directed Plaintiff to refile the First PHV Motion for several filing deficiencies,

including because the submission was missing a Certificate of Good Standing from the Supreme

Court of Texas; missing a Proposed Order; and missing a wet signature from Buzbee. See Text

Order, Feb. 21, 2025. Plaintiff filed an amended motion for Buzbee to appear pro hac vice

(“Second PHV Motion”) (ECF No. 51) on February 24, 2025 that is identical in all respects to the

First PHV Motion but purports to resolve the deficiencies identified in the Court’s February 21,

2025 Text Order.4 Apart from the motion that Buzbee filed in this case after being directed to do

so by the Court, Buzbee has not filed a motion to appear pro hac vice in any of the other cases

pending in this District.




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         In the final paragraph of the Curis Declaration, Ms. Curis requests admission for Brian M.
Andris. Defendants assume this is an error.
4
         In the final paragraph of Ms. Curis’s Declaration in support of the Second PHV Motion, ECF No. 51-1, Ms.
Curis requests admission for Mr. Buzbee.

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                                       LEGAL STANDARD

        Local Rule 1.3(c), which governs pro hac vice admission, provides that a lawyer duly

admitted and in good standing in another state or any United States District Court “may be

permitted to argue or try a particular case in whole or in part as counsel or advocate, upon motion

(which may be made by the applicant).” The rule sets forth the requirements an attorney seeking

pro hac vice admission must follow, which include “requesting pro hac vice electronic filing

privileges through the PACER website,” “electronically fil[ing] a motion for admission pro hac

vice on the court’s ECF system and pay[ing] the required fee.” Local Civ. R. 1.3(j). The attorney

seeking admission must support her application with “a certificate of the court . . . issued within

30 days of filing” for each jurisdiction where she is admitted; an affidavit from the applicant stating

whether she has ever been “convicted of a felony” and/or “censured, suspended, disbarred, or

denied admission or readmission by any court,” “whether there are any disciplinary proceedings

presently against the applicant,” and if so, “the facts and circumstances surrounding” such

incidents. Id.

        A lawyer’s pro hac vice admission “is a privilege, not a right.” Harty v. Spring Valley

Marketplace LLC, No. 15-cv-08190, 2016 WL 8710480, at *1–2 (S.D.N.Y. Jan. 22, 2016). The

decision to grant or deny pro hac vice admission “rests within the sound discretion of the presiding

judge” and may be revoked as the judge sees fit. Id.; see also Erbacci, Cerone, & Moriarty, Ltd.

v. United States, 923 F. Supp. 482, 485 (S.D.N.Y. 1996) (“The decision to admit an attorney to

practice pro hac vice rests with the discretion of the district court.”).

        Before granting pro hac vice admission, courts have required “reasonable assurance[s] that

such attorney is familiar with the Federal Rules of Civil Procedure, the Local Rules for the

Southern District of New York, th[e] Court’s Individual Rules, and the customs and practices of



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this Court.” Erbacci, 923 F. Supp. at 486. In addition to considering whether the attorney seeking

pro hac vice admission demonstrates the requisite familiarity with local practice, a court may

consider whether the applicant “instill[s] confidence that their representations may be relied upon.”

Ascento Cap., LLC v. Filipiak, No. 24-cv-6392, 2024 WL 4536667, at *2 (S.D.N.Y. Sept. 30, 2024)

(denying PHV admission to applicant who failed to disclose an administrative suspension in

another court in his application). “Although pro hac vice admissions are routinely granted, the

Court's decision to do so is not simply a pro forma exercise, and there are occasions where such

applications have been denied.” Id.

                                          ARGUMENT

       Buzbee’s motion for admission pro hac vice should be denied because he has repeatedly

shown that he is unwilling or unable to follow this District’s Local Rules and because his

application is deficient. For nearly five months, Buzbee has filed case after case in this District

against Defendants in the name of anonymous plaintiffs without seeking admission of any kind

and without disclosing his lack of admission (until raised by a court or adversary). He did not

apply for admission to practice in this District until January 29, 2025, more than six weeks after

his failure to do so was publicized in a letter filed by opposing counsel, five weeks after he

represented to another Judge in this District that he intended to apply for admission (which he only

did after opposing counsel disclosed Buzbee’s lack of admission), and two weeks after he

represented to another Judge in this district that his application was forthcoming.

       Even after Buzbee was expressly put on notice by the Committee on Grievances that

making repeated submissions to courts in a District where he is not authorized to practice violates




                                                 8
the Local Rules5—a concept so fundamental to the practice of law it requires no forewarning—

Buzbee took no corrective action. Instead, he continued making filings in this District without

noting his lack of admission until this Court required him to seek pro hac vice admission. If this

Court had not noticed that Buzbee was practicing without being admitted, there is every reason to

believe he would have continued to do so because that is precisely what Buzbee is doing in more

than twenty other cases pending in this District. Even after declaring in a February 20, 2025

affidavit submitted to this Court that his errors were inadvertent and he will “make certain such

[conduct] never occurs again,” he has failed to seek admission pro hac vice in any of the other

pending cases.

         At best, Buzbee’s repeated violations of the Local Rules are, as he puts it, inadvertent and

demonstrate his unfamiliarity with practice in this District. At worst, the serial violations

demonstrate that the Court cannot rely on Buzbee to make reliable representations and conduct

himself professionally and ethically. Whichever explanation the Court credits, Buzbee’s conduct

warrants denying him the privilege of appearing pro hac vice before this Court.

         Courts in this district have used their discretion to deny even unopposed motions for pro

hac vice admission when plaintiff’s counsel’s repeated failure to comply with the Local Rules

demonstrated counsel’s lack of familiarity with local practice, casting doubt on counsel’s

competence to practice here. In United States v. Int'l Bhd. of Teamsters, Chauffeurs, Warehousemen

& Helpers of Am., AFL-CIO, plaintiff’s counsel, who sought admission pro hac vice, failed to

comply with a local rule in effect at that time which required all pleadings, motions, and other

filings to include below the attorney’s signature his/her address, telephone number, initials, and



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         Rule 1.5(b)(6) of the Local Rules provides that an "attorney not a member of the bar of this court" may be
subject to discipline if the attorney "has appeared at the bar of this court without permission to do so. " Local Civ. R.
1.5(b)(6).

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last four digits of the attorney’s social security number and failed to comply with an individual

rule that required courtesy copies. 911 F. Supp. 743, 753 (S.D.N.Y.), aff'd, 96 F.3d 653 (2d Cir.

1996). The district court denied plaintiff’s counsel’s application first without prejudice, noting:

“Before plaintiffs' attorneys may appear before this Court, this Court must have some reasonable

assurance that these attorneys are familiar with the Local Rules and this Court's Individual Rules.

Far from demonstrating such familiarity, however, plaintiffs' attorneys have submitted papers that

violate these rules.” Id. at 754. Upon the renewal of counsel’s motion for pro hac vice admission,

the Court subsequently denied the application again, the second time with prejudice, having found

that counsel continued to fail to comply with local rules. See Erbacci, Cerone, & Moriarty, Ltd. v.

United States, 923 F. Supp. 482, 483 (S.D.N.Y. 1996) (denying pro hac vice application with

prejudice where “[p]laintiffs’ attorneys . . . demonstrated a serious lack of understanding regarding

appropriate practice before this Court”). Specifically, the moving attorney filed a motion and

signed it without being admitted and without having local counsel co-sign, which could potentially

have run afoul of New York State’s prohibition on the unauthorized practice of law. Id. at 485. In

rejecting counsel’s application with prejudice, the Court emphasized that “the actions that

plaintiffs' counsel has taken in the instant litigation to date” do not give the Court a “reasonable

assurance that [counsel] is familiar” with the rules governing litigation in this District. Id. at 485–

86.

       As in Erbacci, Buzbee’s repeated violations of the Local Rules betray his lack of familiarity

with local practice. The Court cannot be reasonably assured that Buzbee understands and will

follow the Local Rules and customs because he has shown time and again that he cannot. After

being directed by the Court to file a motion for admission pro hac vice under Local Civ. R. 1.3,

which he should have done when the case was first filed months before, Buzbee’s motion was



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deficient. He failed to provide a certificate of good standing from Texas in violation of Rule 1.3(k)

(instead including an unsworn letter from the Texas state bar). He also failed to provide a proposed

order for the Court to grant and to include a wet signature as the attorney seeking pro hac status in

a filing made from another lawyer’s PACER account.

        Additionally, Buzbee’s conduct in this case unrelated to his pro hac vice application

demonstrates his lack of understanding of the Local Rules and local practice. In the early days of

this case, he violated Rule 10(a) of the Federal Rules of Civil Procedure and Rule 6.14 of the

S.D.N.Y. Electronic Case Filing Rules & Instructions by filing the action under a pseudonym

without first seeking leave of the Court. See Opinion & Order (Oct. 30, 2024), ECF No. 17 at 1

(ordering Plaintiff to file a complaint in her own name and noting counsel’s failure to seek leave

to file anonymously before doing so). Buzbee violated the same rule in multiple other cases filed

against Defendants in recent months as well. See, e.g., Order, Doe v. Combs, 24-cv-07769

(S.D.N.Y. Oct. 15, 2024), ECF No. 13; Order, Doe v. Combs, 24-cv-07976 (S.D.N.Y. Oct. 21,

2024), ECF No. 12; Order, Doe v. Combs, 24-cv-08811 (S.D.N.Y. Nov. 20, 2024), ECF. No. 5.

Even crediting Buzbee’s claim that his repeated violations of the rules governing practice in this

District are inadvertent, the Court can and should use its discretion to deny his motion for pro hac

vice admission because of Buzbee’s apparent lack of familiarity with local practice and his failure,

even after acknowledging his violations, to take corrective action in his other cases pending in this

District.

        Moreover, Buzbee’s application for pro hac vice admission is itself deficient. Local Rule

1.3(k)(4) requires applicants for pro hac vice admission to state the facts and circumstances

surrounding any disciplinary proceeding against the applicant. Buzbee purports to comply with

this requirement by stating that “[t]he primary factor underlying” the grievance against him “is



                                                 11
that [he] electronically signed numerous pleadings alongside my firm’s local counsel[,]” and

further noting the grievance included information regarding “the filing of a lawsuit against me by

a former client.” ECF 49-2 ¶ 7. But this bare bones description is not sufficient to state the

circumstances of the grievance because he only discloses one “factor” underlying the grievance

when Buzbee’s own declaration implies there were multiple factors, and though he vaguely

references a lawsuit against him by a former client, he fails to describe the nature of those claims.

See id. In addition, the declaration submitted by Buzbee’s local counsel in support of Buzbee’s

pro hac vice application falsely represents that Buzbee has never been “censured, suspended,

disbarred or denied admission or readmission by any court.” ECF No. 49-1 ¶ 5.

         In addition to violating the Local Rules, in pursuing litigation in this District, Buzbee has

also repeatedly violated the New York Rules of Professional Conduct.6 For example, New York

Rule of Professional Responsibility 3.6(a) prohibits attorneys who are participating in a civil

matter from making “an extrajudicial statement that the lawyer knows or reasonably should know

will be disseminated by means of public communication and will have a substantial likelihood of

materially prejudicing an adjudicative proceeding in the matter.” N.Y. R. Prof. Conduct 3.6(a). A

statement is likely to prejudice the matter if, among other things, it relates to “the character,

credibility, reputation or criminal record of a party, suspect in a criminal investigation or witness,

or . . . the expected testimony of a party or witness,” “any opinion as to the guilt or innocence of a

defendant,” or “the fact that a defendant has been charged with a crime, unless there is included

therein a statement explaining that the charge is merely an accusation and that the defendant is

presumed innocent until and unless proven guilty.” N.Y. R. Prof. Conduct 3.6(b). A lawyer may

only state the following “without elaboration”:


6
         An attorney practicing in this District may be subject to discipline for violating the New York State Rules
of Professional Conduct. See Local Civ. R. 1.5(b)(5).

                                                         12
                  (1) The claim, offense or defense and, except when prohibited by law, the identity
                      of the persons involved;

                  (2) Information contained in a public record;

                  (3) That an investigation of a matter is in progress;

                  (4) The scheduling or result of any step in litigation;

                  (5) A request for assistance in obtaining evidence and information necessary
                      thereto;

                  (6) A warning of danger concerning the behavior of a person involved, when there
                      is reason to believe that there exists the likelihood of substantial harm to an
                      individual or to the public interest.

N.Y. R. Prof. Conduct 3.6(c).

         Buzbee’s frequent press appearances clearly violate this Rule. For example, in a press

conference Buzbee held on October 1, 2024 to advertise the launch of his campaign against

Defendants and promote a 1-800 number viewers could call to make claims against Defendants,

Buzbee described in great detail the expected testimony of several of the supposed 120 individuals

on whose behalf he claimed he would be filing lawsuits.7 See Fox26 Houston, Full Video: Tony

Buzbee on lawsuits against Diddy, https://www.fox26houston.com/video/1525043 (containing

full video recording of Mr. Buzbee’s Oct. 1, 2024 press conference) (the “Oct. 1 Video”).

Describing his clients, Buzbee said “[i]t’s shocking to hear the youngest victim at the time of the

occurrence was nine years old,” and claimed to represent 25 minors who were sexually abused as

children, implicitly accusing Mr. Combs of grave criminal conduct with which he has never been

charged. See the Oct. 1 Video, 7:11-7:51 (last visited February 25, 2025). In flagrant violation of



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         Though Mr. Buzbee has filed several cases against the Defendants in other jurisdictions, he has not filed
anything close to the 120 cases he claimed he would bring in his press conference. See Click2Houston, Houston
Attorney Tony Buzbee Reveals New Details on More Than 100 Pending Lawsuits Against Sean ‘Diddy’ Combs,
https://www.click2houston.com/news/local/2024/10/01/houston-attorney-tony-buzbee-to-reveal-new-details-on-
more-than-100-pending-lawsuits-against-sean-diddy-combs/.

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the New York Rules of Professional Responsibility R. 3.6(a), Buzbee went on to describe in detail

his clients’ expected testimony, including where they would say the alleged assaults occurred, the

circumstances under which they would claim the assaults took place, the nature of the relationships

his clients would claim they had had with Mr. Combs prior to the purported assaults, the modus

operandi his clients would allege Mr. Combs used to effectuate the alleged assaults, the alleged

assaultive conduct his clients would claim they experienced and the alleged injuries and harm his

clients would say they suffered. Id., 29:46-35:47.

        Buzbee did not just preview his clients’ expected testimony in general terms—he relayed

anticipated accounts of the as-of-then unfiled allegations from specific unnamed clients. In

describing his clients’ expected narratives, he claimed that he had “corroborated, vetted and

collected evidence” for each of the accounts he presented, vouching for the truthfulness of his

clients’ allegations and implicitly of Mr. Combs’ guilt.                 Id., 30:43-30:49.      After the press

conference, Buzbee went on to participate in a media blitz campaign to promote his lawsuits and

in doing so, he routinely implied that Mr. Combs has a “predilection” for predatory sexual assaults,

commenting on and denigrating his character.8 There can be no serious dispute that such

statements had a “substantial likelihood of materially prejudicing” this and other adjudicative

proceedings in flagrant violation of Rule 3.6. Indeed, even though none of Buzbee’s clients is

expected to testify at Mr. Combs’ criminal trial, Buzbee’s extrajudicial statements here are likely

to prejudice Mr. Combs’ criminal case as they unambiguously express “opinion as to the guilt or




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         See e.g., Youtube, The Chris Hansen Show – Episode 1 – Attorney Tony Buzbee (Oct. 3, 2024) (last visited
Feb. 25, 2025) https://www.youtube.com/watch?v=YyNPzxmkcUw, 12:30-12:50 (suggesting that the number of
people who had publicly accused Mr. Combs of assault as of that date was merely “the tip of the iceberg”); 16:14-
17:08 (stating of Mr. Combs, “when you have this predilection like this it happens over and over, you know it
doesn’t just happen once, typically when something like this happens, you can bet that it’s probably happened more
than once, that’s what’s different about this case in my view is that this was not a secret”).

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innocence of a defendant” and “relate to “the character, credibility, reputation . . . of a party,

suspect in a criminal investigation.” See N.Y. R. Prof. Conduct 3.6(a).

       As a result of Buzbee’s knowing failure to seek admission while continuing to practice in

this District, his violation of the Local Rules and the New York Rules of Professional

Responsibility, and the deficiencies in his pro hac vice application, Buzbee does not “merit the

privilege of appearing pro hac vice” because the Court cannot be confident that his representations

to the Court can be relied on. In Ascento Capital, LLC v. Filipiak, the district court issued an order

to show cause explaining that plaintiff, a corporate entity, could not proceed pro se and that

plaintiff’s founder, an attorney who had not submitted an application to appear pro hac vice, did

not appear to qualify as counsel. No. 24-cv-6392, 2024 WL 4536667, at *1 (S.D.N.Y. Sept. 30,

2024). In response to the court’s order, plaintiff’s counsel submitted a motion to appear pro hac

vice, stating that he mistakenly believed he had been given permission to practice on a pro hac

basis in the matter. Id. In his motion, plaintiff’s counsel swore that he had never been suspended,

but the Court independently determined that counsel had previously been administratively

suspended in New York State under Judiciary Law Section 468-a, which requires attorneys to file

a biennial registration statement with the New York State bar. Id. Even though plaintiff’s counsel

only failed to disclose an administrative suspension for a failure to comply with a registration

requirement, as opposed to discipline doled out for affirmative misconduct, the district court

denied counsel’s motion because it is essential that courts “be able to rely upon representations

made on the record by attorneys licensed to practice before it.” Id. at 2 (internal quotation omitted).

The deception inherent in plaintiff’s omission, whether willful or not, was sufficient to undermine

the court’s confidence that the attorney would behave “professionally and ethically.” Id. (internal

quotation omitted).



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        The reasoning in Ascento applies with equal force here. Because Buzbee failed to seek pro

hac vice admission or even note in his signature block that an application for admission was

pending or forthcoming, the Court reasonably assumed that Buzbee was permitted to practice in

this District. When the question of whether Buzbee was permitted to practice in this District came

up in other matters, he expressly represented that he was in the process of getting admitted to the

District. But his implied and express representations were not true, and he knew they were not

true when he made them. Buzbee did not apply for admission to any court in this District in any

capacity until Judge Torres gave him a two-week deadline to show proof that he was actually

admitted, long after he represented that his admission was forthcoming. See Order, Doe v. Combs

et al., 24-cv-07975 (Jan. 28, 2025), ECF No. 80. Even after Buzbee’s failure to obtain permission

to practice in this District was brought to his attention by his adversaries and by other Judges in

this District, Buzbee still failed to take any steps to correct his mistake.

        Moreover, his public statements reflect that he does not appreciate the gravity of his

violations. Indeed, rather than acknowledge the limitations of his practice authority in the face of

public inquiries about the denial of his admission application to the Southern District of New York

(or remain silent), Buzbee instead chose to make a public statement that deflected, claiming that

reports of him being “ ‘barred’ from practicing law in New York State” were “trash” and “pure

bunk” and boasting: “Although I prefer Texas, I’m proud of the legal work we are doing in New

York.” Declaration of Mark Cuccaro dated February 25, 2025, Exhibit A. While it is apparently

true that Buzbee is admitted to practice law in the state courts of New York, his public statements

in response to the order denying his admission to the Southern District of New York are

deliberately misleading.




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       Against this backdrop, the Court cannot credit his promise that he will never repeat his

misconduct. Indeed, there are at least nineteen other judges in this District to whom he has not yet

disclosed the Order Denying Admission and from whom he has not yet sought permission to appear

pro hac vice.

                                         CONCLUSION

       For the foregoing reasons, Defendants respectfully request that the Court deny Buzbee’s

application to appear pro hac vice.




Dated: New York, New York                               Respectfully submitted,
       February 25, 2025                                /s/ Mark Cuccaro


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                                                17
                                       CERTIFICATION

       The undersigned hereby certifies that the Memorandum of Law in Opposition to

Plaintiff’s Amended Motion for Admission Pro Hac Vice for Anthony Buzbee complies with the

word limit set forth in Rule 7.1(c) of the Local Rules of the United States District Courts for the

Southern and Eastern Districts of New York. The word count, exclusive of the caption, tables,

and signature blocks, is 5,608 according to the word-processing system used to prepare the

document.



Dated: February 25, 2025
       New York, New York


                                                      /s/    Mark Cuccaro
                                                             Mark Cuccaro




                                                 18
